     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 98-2245

                        JOSE RAMIREZ,

                    Plaintiff, Appellant,

                              v.

      DONALD W. WYATT DETENTION CENTER, OFFICER GIORGIO
                AND CORNELL CORRECTIONS, INC.,

                    Defendants, Appellees.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF RHODE ISLAND

           [Hon. Mary M. Lisi, U.S. District Judge]

                            Before

                    Lynch, Circuit Judge,
               Bownes, Senior Circuit Judge,
                 and Lipez, Circuit Judge.

   Jose M. Ramirez on brief pro se.
   Michael C. Donahue, M. Christine Breslin and Gelerman, Cashman
&amp;amp; Donahue on brief for appellees.

August 31, 1999

          Per Curiam.  Pro se plaintiff Jose Ramirez, a federal
prisoner, appeals a district court judgment that dismissed his
42 U.S.C.  1983 complaint against Cornell Corrections, Inc.
and its employee, officer Dino Giorgio, for the failure to
state a claim upon which relief can be granted.  See Fed. R.
Civ. P. 12(b)(6).  Plaintiff has neither alleged nor argued
that he lacks an adequate state law remedy; thus he may not
maintain an action for the violation of his right to due
process under the Fifth and Fourteenth Amendments.  See, e.g.,
Romero-Barcelo v. Hernandez-Agosto, 75 F.3d 23, 33 (1st Cir.
1996); Watson v. Caton, 984 F.2d 537, 540-41 (1st Cir. 1993). 
His allegations also fall well short of stating a claim under
the Eighth Amendment.  See, e.g., Farmer v. Brennan, 511 U.S.
825, 834 (1994); Wilson v. Seiter, 501 U.S. 294, 298-303(1991). Plaintiff has waived any Fourth Amendment claim by
failing to argue same on appeal.
          The remaining arguments that appellant asserts on
appeal are patently meritless.  Accordingly, the judgment of
the district court is affirmed.  See Local Rule 27.1.
